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                          RECE1VED OCT 2 2 2019
October 11, 2019


Via Registered Mail, First Class Mail, and Electronic Mail

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Austin, Texas 78759                                 Suite 260
Email: adam@panachehomes.com                        Sherwood Park, Alberta, Canada T8H 2H3
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Adam Zarafshani                                            Adam Zarafshani
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Eightfold Developments, LLC                               3443 Zen Garden GP LLC
4210 Spicewood Springs Road, # 205                        4210 Spicewood Springs Road, # 205
Austin, Texas 78759                                       Austin, Texas 78759
Email: adam@panachehomes.com                              Email: adamQpanachehomes.com

        Re:      DECLARATION OF DEFAULT AND                              NOTICE OF
                 ACCELERATION: Loan Agreement dated April 27, 2018 (the "Loan
                 Agreement") executed by 3443 Zen Garden Limited Partnership (the
                 "Borrower") and Romspen Mortgage Limited Partnership (the
                 "Lender"), arising from and related to that certain Promissory Note
                 ("Note"), dated April 27, 2018, in the original maximum principal
                 amount of S125,000,000.00, executed by Borrower and payable to the
                 order of Lender, which Note is secured by, inter alia, the lien of that
                 certain Deed of Trust, Assignment of Leases and Rents, Security
                 Agreement and FixTuréFiling (together with any other documents
                 granting a security interest to secure the Note, each of which are
                 expressly incorporated herein by reference, collectively, the "Security
                 Instrument"),flaled as of April 27, 2018, covering certain real and
                 personal property (as such realty and personalty is specifically described
                 and set forth in the Security 1nstrument, collectively referred to herein
                 as the "Property") located in Travis County, Texas, which Note has been
                 guaranteed by Adam Zarafshani, Daniel Alexander White, Eightfold
                 Developments, LLC (collectively, the "Guarantors")I under those
                 certain guarantee agreements (collectively, the "Guarantees") executed
                 by Guarantors in favor of Lender, and each of the foregoing documents
                 described hereinabove, together with certain other documents executed,
                 delivered and/or completed in connection with the foregoing transaction
                 documents, are collectively referred to herein as the "Loan Documents".



           Borrower, Guarantors, each of the parties defined as the "Borrower Parties" under the Loan Agreement, the
addressees of this correspondence, and all other parties obligated to Lender under the terms of the Loan Documents are
collectively referred to as the "Ohligors".




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Dear Obligors,

This firm represents the Lender in connection with the above-referenced matter. Lender is the owner
and holder of the Loan Agreement, Note, Security Agreements, Guarantees and all Loan Documents
executed in connection therewith. Capitalized terms used herein, but not otherwise defined, shall have
the meanings specified in the Loan Documents. All fitture cornmunications concerning this matter
should be directed to the undersigned. If you are represented by legal counsel (other than counsel
copied herein), please forward this transmission so that we may cornmunicate directly with your
attorney.

This letter shall serve as formal notice that Obligors are in default under the Loan Documents.
Specifically, this correspondence officially constitutes a Declaration of Default (as such terrn is
defined in the Loan Agreement). Obligors have defaulted under Section 7.1(a) of the Loan Agreement
by failing to timely deliver to Lender one or more monetary obligations lawfully due and owing under
the Note, the Loan Agreement and the other Loan Documents. Specifically, pursuant to Section 6.6 of
the Loan Agreement, the Interest Reserve Fund was initially set at $8.5 million. Section 6.6 states:
"For so long as no Declaration of Default has occurred hereunder or under any of the other Loan
Documents, Lender shall, on each Scheduled Payment Date, advancefrorn the Interest Reserve Fund
   itself the amount of the Monthly Debt Service Payment (as defined in the Note) and other accrued
interest then due and payabk under the Notes [sicr. Lender has ach anced the full Interest Reserve
Fund to pay interest accrued on the Loan. As of the September 2, 2019, Scheduled Payment Date, the
remaining balance of the Interest Reserve Fund was $56,395. Therefore, Borrower is responsible to
make Monthly Debt Service Payments on Scheduled Payment Dates from funds other than Loan
?roceeds (unless, per 6.6, Lender approves Borrower's request to make Project savings available for
Monthly Debt Service Paymerits. No request was received, and in any event, there are no Project
savings available). Borrower did not make Debt Service Payments on either September 2, 2019, or
October 1, 2019, of $796,240.27 (amount due net of the remaining balance in the Interest Reserve
Fund), and $852,671.70, respectively (herein, the "Payment Default").

1n addition to the Payment Default, Obligors have also failed to satisfy additional terms of the Loan
Documents, which breaches have triggered additional Events of Default under the terms of the Loan
Documents, including, without limitation:

       Misapplication of Advance Proceeds: On August 30, 2019, as part of draw request #14, Lender
       advanced $1,993,341.75 (out of a total Advance of $2,852,510.62) to Borrower for the
       purposes set out in the Draw Request and supporting materials. Without Lender's consent,
       and contrary to the representations in the draw request, $1,387,100.46 of the Advance funds
       were disbursed by the Borrower for purposes contrary to: (i) Borrower's representations in the
       Draw Request; and (ii) the Lender's approval thereof Borrower's action in this regard has
       breached the terms of the Loan Documents, specifically including, without limitation, an Event



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        of Default under Section 7.1(e) of the Loan Agreement.

    •   Waste (Section 3.5 of the Security Instrument): Under Section 3.5 of the Deed of Trust,
        Borrower (Grantor) covenanted not to commit or suffer any waste of the Property (a
        "diminution of the Property's value resuitingfront the Borrower's negligent or willfulfailure
        to manage     or otherwise operate the Property in a commercially reasonable manner").
        Borrower's abandonment of site operations constitutes a breach of this covenant.

There may be additional Events of Default existing under the terms of the Loan Documents that are
not listed herein. Lender does not waive any other existing Events of Default by not explicitly
referencing the sarne herein.

As a result of your Payment Default, you are hereby notified that the entire outstanding balance due
under the Note and terms of the Loan Documents has been accelerated, and all of such indebtedness
is now immediately due and payable to Lender.

Please advised that any discussions that may have occurred or may occur in the future between
representatives of Obligors and of Lender regarding the Property or the Note evidence nothing more
than the continuing good faith attempts of Lender to work out the existing problems in a manner
reasonably acceptable to all parties. Obligors may not rely upon any such discussions in any manner
or fashion. Unless and until a binding, written agreement has been fully executed by and between all
parties, Lender's rights and remedies are and will continue to be fully enforceable under the terms of
the Loan Documents.

Notwithstanding any previous action or inaction by or on behalf of Lender to the contrary, if any, you
are hereby notified that Lender will hereafter require strict compliance with the terms and conditions
of the Note and other Loan Documents.

 Please be advised that we shall assume your debt to our client is valid unless, within thirty (30) days
 of the date of this letter, you dispute the validity of the debt, or any portion thereof, in writing. If you
 notify us within the thirty-day period that you dispute the validity of the debt, or any portion thereof,
 we will obtain verification of the debt, and we will mail such verification to you. If our client is not
 the original creditor regarding your debt, upon your written request within the above described thirty-
 day period, we will provide you with the name and address of the original creditor. Please note that
 your right to request a verification of the debt or to request the name and address of the original creditor
 does not affect our right to collect the full balance of Obligors' financial obligations and/or foreclose
 on the Property under the Loan Documents.

 Pursuant to the Fair Debt Collection Practices Aet, you are advised that this office may be
 deemed to be a debt collector, that the debt collector is attempting to collect a debt, and any



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information obtained will be used for that purpose.

If you are a debtor under the United States Bankruptcy Code or if the debt described herein has been
discharged under the United States Bankruptcy Code, notwithstanding anything contained in this letter
to the contrary, this letter constitutes neither a demand for payment of the Note nor a notice ofpersonal
liability to, nor action against, any recipient hereof who might have received a discharge of the Note
obligations in accordance with applicable insolvency laws or who might be subject to the automatic
stay of Section 362 of the United States Bankruptcy Code, or other similar insolvency laws, or who
has paid or settled or is otherwise not obligated by law for the Loan Documents. If any such discharge
or stay is currently applicable to any such recipient, then alternatively, this letter is served only to
provide notice of the default under the Loan Documents, as described herein above, and out of an
abundance of caution to satisfy certain notice provisions under the Loan Documents and the Texas
Property Code, to the extent any such provisions thereunder may be applicable.

Lender reserves all rights provided for under the Loan Documents, including but not limited to the
right to pursue and/or invoke any and all remedies permitted by applicable law and/or provided in the
Loan Documents. Lender further reserves the right to collect all costs and expenses permitted by
applicable law, including attorneys' fees, costs of documentary evidence, abstracts, title reports,
appraisals, property condition assessments, broker's price opinions, inspection reports, statutory costs
and any additional allowanee made pursuant to the Loan Documents and applicable law.

This letter is written without prejudice to Lender's other rights and remedies, all of which are expressly
reserved.

In the event that Obligors wish to discuss these matters, you rnay contact the undersigned counsel for
Lender at 214-999-4289.

Your immediate attention to this matter is recommended.

                                                  Sincerely,



                                                  Thomas C. Scannell

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